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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

UNITED STATES OF AMERICA

-vs-                                                               Case No. 8:04-cr-348-T-24 TGW

MICHAEL MALONE
PASQUALE ANDRIANO
TERRY SCAGLIONE
______________________________/

                                               ORDER
        Defendants Malone, Andriano. and Scaglione filed motions for a bill of particulars. (Doc.
No. 134, 164, 181). On May 24, 2005, the Magistrate Judge granted the motions to the extent that
the Government was directed to provide a bill of particulars with respect to Count One stating: (1)
whether each of these defendants is alleged to be a member or associate of the crew and/or the
Gambino Crime Family; and (2) with regards to the specific criminal acts the Government intends
to prove at trial against these defendants, the nature of the act, the location of the act, and the date
of its occurrence. (Doc. No. 192). In response, the Government appealed the Magistrate Judge’s
Order, pursuant to 28 U.S.C. § 636(b)(1)(A). (Doc. No. 205). The Court has reviewed the
Magistrate Judge’s Order and the Government’s objection thereto, as well as the Indictment and
other relevant parts of the case file.
        A district judge may refer any matter that does not dispose of a charge or defense to a
magistrate judge for determination. A motion for a bill of particulars is such a matter. Upon
objections to a magistrate judge’s order, the district judge is obligated to consider the objections and
modify or set aside any part of the order that is contrary to law or clearly erroneous.
        Having considered the Government’s objections to the Magistrate Judge’s Order, the
undersigned finds that no part of the Magistrate Judge’s Order is contrary to law or clearly
erroneous. Accordingly, it is ORDERED AND ADJUDGED that the Government shall comply with
the Magistrate Judge’s order on or before July 5, 2005.
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      DONE AND ORDERED at Tampa, Florida, this 24th day of June, 2005.




Copies to:
Counsel of Record
The Honorable Thomas G. Wilson




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